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                                                                               PM5-6

             AFFIDAVIT IN SUPPORT OF A COMPLAINT AND ARREST WARRANT


       I, Shawn Hare, being duly sworn, hereby depose and state as follows:


                         INTRODUCTION AND AGENT BACKGROUND

       1)      I am an “Investigative or Law Enforcement Officer” within the meaning of

the Title 18, United States Code, Section 2510(7). As a Special Agent (SA) of the Federal

Bureau of Investigation (FBI), I am empowered by law to conduct investigations of and

make arrests for offenses enumerated in Title 18, United States Code, Section 2516.

       2)      I have been a Special Agent since November 2014. I am currently assigned to

the FBI Violent Crimes Task Force (VCTF). The VCTF is comprised of personnel from the

FBI, the Cuyahoga County Sheriff’s Department, Cleveland Police Department, Cleveland

Heights Police Department, and the Cuyahoga County Adult Parole Authority. My primary

duties as a member of the VCTF include the investigation of violent crimes, including

crimes against children, human trafficking, and bank robberies. Prior to my time of the

VCTF, I was a member of our Joint Terrorism Task Force (JTTF). While on the JTTF, I

received training in and conducted numerous investigations concerning international

terrorism and homegrown violent extremism.

       3)      This affidavit is intended to establish that there is probable cause for the

requested complaint and arrest warrant and does not set forth each and every fact pertinent

to this investigation. The facts contained in this Affidavit come from my personal

observations, my training and experience, and information obtained from other agents and

witnesses.
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         4)   Based on the facts set forth below, there is probable cause to believe that

violations of Title 18 U.S.C. § 2113(a),(d) & 2, that is Armed Bank Robbery, and 18 U.S.C.

§ 924(c)(1)(A)(ii) & 2, that is Brandishing a Firearm during the Commission of a Crime of

Violence, have been committed by JOEL ALONTE TRAVIS (“TRAVIS”), date of birth:

July xx, 2004, SSN: xxx-xx-0754.

         FACTS AND CIRCUMSTANCES ESTABLISHING PROBABLE CAUSE


                                          THE ROBBERY

         5)   On October 16, 2024, at approximately 11:50 a.m., two Unknown Black Male

Subjects (UNSUBS), brandished a weapon and robbed a Hyosung America technician

servicing the standalone Chase Bank ATM, located at 14133 Cedar Road, in South Euclid,

Ohio.

         6)   The UNSUBS took the cassettes from the ATM which contained

approximately $126,380 in United States currency. The monies of Chase Bank ATM at the

time of the robbery were insured by the Federal Deposit Insurance Corporation (FDIC).

        7)    On October 16, 2024, at approximately 11:10 a.m., the technician arrived and

began servicing the ATM. While servicing the ATM, at approximately 11:48 a.m., a black

sedan, with silver trim and no license plate, later identified as a Hyundai Sonata (Sonata),

was observed on Chase Bank video surveillance driving through the bank parking lot. The

image below depicts the dark-colored Sonata driving through the parking lot before the

robbery, as caught on bank surveillance video.
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       8)      After turning around in the parking lot, the Sonata began to drive back in the

direction of the technician before backing into a parking spot adjacent to the bank. The image

below shows the Sonata backed into the parking space as captured on bank surveillance

video. This dark-colored Sonata, like the dark-colored Sonata depicted on the Flock

cameras, below, has no back license plate.
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.

       9)      After a short period of time, the Sonata again began driving towards the

technician servicing the ATM.

       10)     The Sonata was then captured on surveillance video driving through the bank

parking lot, before pulling up to the back side of the ATM. When the Sonata stopped, two

UNSUBS ran out of the vehicle, one from the front passenger door and the other from the

back passenger door. The image below depicts the ambush of the technician by the robbers as

captured on video from an adjacent business. In addition to the lack of a back license plate

as noted above, the hubcaps on the passenger side of this dark-colored Sonata are identical to

the hubcaps on the dark-colored Sonata captured on Flock cameras, as outlined below. The

similarities between the tires on the dark-colored Sonata from video from an adjacent

business and on street cameras will be addressed in depth below.
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       11)     At approximately 11:50 a.m., the two UNSUBS ran up to the technician. One

of the UNSUBS (UNSUB 1) was observed grabbing the technician by the jacket, while

pointing the firearm at the back of his head. The other UNSUB (UNSUB 2) was observed

reaching into the ATM and attempting to pull out the contents. Because he (UNSUB 2) was

unsuccessful in extracting the contents of the ATM, the technician was ordered to assist.

Fearing for his life, the technician helped remove the cassettes from the ATM. After

approximately 33 seconds, the UNSUBS were able to pull out five cassettes before running

back to the Sonata, where they entered through the back passenger door. The images below

from bank surveillance video depict the robbery of the ATM technician.
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       12)     The UNSUBS were both wearing face coverings, with black jackets and

hoods. UNSUB 1 was wearing black pants and UNSUB 2 was wearing blue adidas pants.

UNSUB 1 was also wearing gloves and brandished a firearm with an extended magazine.

This firearm appeared to be two-toned, that is both black and tan. UNSUB 2 wore one glove

on his right hand.
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        13)     After the robbery, the Sonata drove through the Chase Bank parking lot and

out the exit and turned right onto Miramar Boulevard. The image below, taken from bank

surveillance video, depicts the dark-colored Sonata leaving the parking lot of the Chase

Bank.




         14)    Immediately following the robbery, a “be on the lookout” (BOLO), was

issued to local law enforcement on October 16, 2024. The following day, on October 17,

2024, FBI received information from a local law enforcement officer indicating that he

believed he located the black Hyundai Sonata involved in the robbery. This law enforcement

officer provided the FBI with six still images capturing the suspected dark-colored Sonata

and its path of travel.1

                           FLOCK LICENSE PLATE READERS (LPRs)

        15)     At approximately 11:55 a.m. (approximately five minutes after the robbery), a

Flock License Plate Reader (LPR) recorded the dark-colored Sonata traveling northbound on

Noble Road. The system provided a latitude/longitude of 41.53708940302635, -


                                       
         1
          Investigators reviewed video footage from the Chase Bank to determine whether Joel
 Travis ever entered the bank on this day during the relevant time. They determined that he did
 not enter. Moreover, inquiry of bank personnel confirmed that Joel Travis does not have any
 accounts at Chase Bank.
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81.5548878352463. The image below depicts the dark-colored Sonata as recorded by the

Flock LPR.




       16)    At approximately 11:56 a.m., a Flock LPR recorded the dark-colored Sonata

traveling eastbound on Euclid Avenue from Noble Road. The system provided a

latitude/longitude of 41.54372943152949, -81.56802951516079. The image below depicts

the dark-colored Sonata as recorded by the Flock LPR.




       17)    At approximately 11:56 a.m., a Flock LPR recorded the dark-colored Sonata

traveling northbound on Ivanhoe Road from Euclid. The system provided a latitude/longitude

of 41.54638585586925, -81.5657556524374. The image below depicts the dark-colored

Sonata as recorded by the Flock LPR.
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       18)    At approximately 12:00 p.m., Flock LPR recorded the dark-colored Sonata

traveling westbound on St. Clair Avenue at Eddy Road. The system provided a

latitude/longitude of 41.541434481002746, -81.6011800517082. The image below depicts

the dark-colored Sonata as recorded by the Flock LPR.




       19)    At approximately 12:01 p.m., Flock LPR recorded the dark-colored Sonata

traveling southbound on East 105th Street from St. Clair. The system provided a
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latitude/longitude of 41.53856997496334, -81.61564411765895. The image below depicts

the dark-colored Sonata as recorded by the Flock LPR.




       20)    At approximately 12:03 p.m., a Flock LPR recorded the dark-colored Sonata

traveling southbound on East 105th Street. The system provided a latitude/longitude of

41.521560752619536, -81.61557009496121. The image below depicts the dark-colored

Sonata as recorded by the Flock LPR.
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                              JOEL TRAVIS’ ANKLE BRACELET2

        21)     TRAVIS became a person of interest for his possible involvement in this

robbery.

        22)     On or about October 21, 2024, investigators learned that TRAVIS was court-

ordered to wear an electronic monitoring device (ankle bracelet) through the Cuyahoga

County Court of Common Pleas. Investigators also learned that the accuracy of TRAVIS’

ankle bracelet is approximately within ten to fifteen feet of TRAVIS’ actual physical location.

Data from TRAVIS’ ankle bracelet was obtained for the date of October 16, 2024, between

approximately 11:45 a.m. through approximately 5:00 p.m. (the date and time of the robbery

and flight thereafter).

        23)     The GPS report from TRAVIS’ ankle bracelet provides a sequence number3,

date/time and address for the location of the monitor. On October 16, 2024, at approximately

11:47 a.m., sequence number 31 provides that TRAVIS’ ankle bracelet was located at 14170

Cedar Road, South Euclid, Ohio, and a latitude/longitude of 41.501328, -81.530412. (this is

within the area of the Chase Bank, right before turning into the bank parking lot). At

approximately 11:48 a.m., sequence number 32 provides that the ankle bracelet was located


                                       
           2
         Your affiant verified with the Cuyahoga County EMU that during the time that
 TRAVIS was court ordered to wear the ankle monitor, the monitor was neither tampered with
 nor impermissibly removed by TRAVIS. Thus, your affiant believes that the GPS coordinates
 provided by the ankle monitoring system did in fact record the movements of JOEL ALONTE
 TRAVIS.
           
           3
           The EMU system utilizes a consecutive numbering regimen to identify longitudinal
 and latitudinal coordinates at specific points in time based upon the time parameters
 requested. As such, if requested time parameters change, so do the corresponding sequence
 numbers.
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at 14141 Cedar Road, South Euclid, Ohio, and a latitude/longitude of 41.501413, -

81.530333. (This is also within the area of the Chase Bank, right on the road before turning

into the bank). At approximately 11:49 a.m., sequence number 33 provides that the monitor

was located at Cedar Road and Miramar Boulevard, South Euclid, Ohio (located just inside

the entrance into the Chase Bank parking lot) and a latitude/longitude of 41.501545, -

81.530618. At approximately 11:50 a.m., sequence number 34 provides that the monitor was

located at Cedar Road and Miramar Boulevard, South Euclid, Ohio, (the same time and

location of the armed robbery of the ATM technician), and a latitude/longitude of 41.501733,

-81.530645.4 At approximately 11:51 a.m., sequence number 35 (not depicted on this

graphic) provides that the monitor was located at 2006 Miramar Boulevard, South Euclid,

Ohio, and a latitude/longitude of 41.505347, -81.532958. Miramar Boulevard is the same

road the dark-colored Sonata was observed on surveillance video, exiting the Chase Bank

parking lot. The latitude/longitude just outside the bank parking lot is 41.501762, -

81.531354. The map below displays the approximate physical locations for sequence

numbers 31-34 (Sequence number 35 is not displayed), as articulated herein. The red dots

depict both the Chase Bank and Chase Bank ATM where the robbery took place. The yellow

arrow depicts the direction of travel following the robbery.




                                       
        The precise location of Sequence number 34 as illustrated on the map below, is nearly
identical to the position of the dark-colored Sonata with the robbers jumping out, as depicted in
paragraph 10 herein.
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       24)    The graphic below is a segment of the EMU report showing the sequence

number, date/time and addresses for where TRAVIS’ ankle bracelet was located following

the robbery. Captured in the graphic are sequence numbers 36-48.
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       25)    The map below depicts the location of TRAVIS’ ankle bracelet and his route

of travel. This map complements the graphic above. The last sequence number depicted on

this map is sequence number 47 in the vicinity of Louis Stokes Cleveland VA Medical
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Center, located on East 105th Street.




       26)     The graphic below is a segment of the EMU report showing the sequence

number, date/time and addresses for where TRAVIS’ ankle bracelet is located following the

robbery. Captured in this graphic are sequence numbers 47-60.
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       27)    The map below depicts the location of TRAVIS’ ankle bracelet and his route

of travel after the robbery. This map complements the graphic above. TRAVIS’ ankle

bracelet was in the vicinity of Louis Stokes Cleveland VA Medical Center, traveling

southbound on East 105th Street. (Sequence No. 47). The map concludes with sequence

number 55.
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       28)    The graphic below is a segment of the EMU report showing the sequence

number, date/time and addresses for where TRAVIS’ ankle bracelet was located following

the robbery. Captured in this graphic are sequence numbers 50-63.
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       29)     The map below depicts the location of TRAVIS’ ankle bracelet and his route

of travel after the robbery. This map complements the graphic above. At approximately 12:11

p.m., TRAVIS’ ankle bracelet (Sequence No. 55) is in the vicinity of 12110 Griffing Avenue.

At approximately 12:29 p.m., the final sequence number on the map is 63, located in the

vicinity of 33x6 East 142nd Steet, Cleveland, Ohio. This address is one associated with

TRAVIS.
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       30)    The EMU map below indicates that between 12:20-12:28 p.m., TRAVIS’

ankle monitor was located at 33x0 East 142nd Street, Cleveland, Ohio. Between 12:29 p.m.-

4:00:09 p.m, TRAVIS’ ankle monitor remained at 33x6 E. 142nd Street, Cleveland, Ohio.

33x6 East 142nd Street is immediately adjacent to 33x0 East 142nd Street, Cleveland.
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             COMBINATION OF FLOCK LPR AND TRAVIS’ ANKLE BRACELET

       31)     On October 16, 2024, at approximately 11:54:35 a.m., TRAVIS’ ankle

monitor was located traveling on Noble Road, with a latitude/longitude of 41.533648, -

81.546490. (Sequence No. 38). At approximately 11:55:08 a.m., the dark-colored Sonata

was captured on Flock LPR (LPR 1) at the intersection of Woodview Road and Noble Road

with a latitude/longitude of 41.537029, -81.554887. The distance between these two

locations is approximately .5 miles. The graphic below illustrates the interplay between EMU

sequence number of TRAVIS’ ankle bracelet and the dark-colored Sonata as it appears on a

Flock camera. The green dot depicts the location for TRAVIS’ ankle bracelet. The red dot

depicts the location of the flock LPR camera that captured an image of the dark-colored
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Sonata. The yellow arrow depicts the direction of travel. The white arrow depicts the

northern cardinal direction. The white tag in between the two points is provided by Google

Maps.5




         32.   Soon thereafter, at approximately 11:55:35 a.m., TRAVIS’ ankle bracelet was

located traveling on Noble Road with a latitude/longitude of 41.539488, -81.560950.

(Sequence No. 39). The distance between this location and LPR 1 is approximately .4 miles.

The graphic below illustrates the interplay between TRAVIS’ ankle monitor and the dark-

colored Sonata as it appears on a Flock camera. The green dot below depicts the location for

TRAVIS’ ankle monitor for sequence number 39. The red dot depicts the location of the




                                      
         Throughout the paragraphs below, the descriptions of the green dot, red dot, yellow
          5

 arrow, white arrow, and white tag will represent those items identified herein and will remain
 consistent throughout.
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flock LPR camera that captured an image of the dark-colored Sonata.




       33)    On October 16, 2024, at approximately 11:55:35 a.m., TRAVIS’ ankle

monitor was located traveling on Noble Road, with a latitude/longitude of 41.539488, -

81.560950. (Sequence No. 39). At approximately 11:56:20 a.m., the dark-colored Sonata

was captured on a Flock LPR (LPR 2) at the intersection of Euclid and Noble Road with a

latitude/longitude of 41.5437294, -81.5680295. The distance between these two locations is

approximately .5 miles. The graphic below illustrates the interplay between EMU sequence

number and the dark-colored Sonata as it appears on a Flock camera. The green dot below

depicts the location for TRAVIS’ ankle bracelet for Sequence No. 39. The red dot depicts the
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location of the flock LPR camera that captured an image of the dark-colored Sonata.




       34)    Soon thereafter, at approximately 11:56:35 a.m., TRAVIS’ ankle monitor was

located traveling on Euclid Avenue with a latitude/longitude of 41.545547, -81.566315.

(Sequence No. 40). The distance between this location and LPR 2 is approximately .2 miles.

The graphic below illustrates the interplay between EMU sequence number and the dark-

colored Sonata as it appears on a Flock camera. The green dot below depicts the location for

TRAVIS’ ankle bracelet for Sequence No. 40. The red dot depicts the location of the Flock
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LPR camera that captured an image of the dark-colored Sonata.




       35)    On October 16, 2024, at approximately 11:56:35 a.m., TRAVIS’ ankle

monitor was located traveling on Euclid Avenue, with a latitude/longitude of 41.545547, -

81.566315. (Sequence No. 40). At approximately 11:56:43 a.m., the dark-colored Sonata

was captured on Flock LPR (LPR 3) at the intersection of Euclid and Ivanhoe Road with a

latitude/longitude of 41.546385, -81.565755. The distance between these two locations is

approximately 400 feet. The graphic below illustrates the interplay between EMU sequence

number and the dark-colored Sonata as it appeared on a Flock camera. The green dot below

depicts the location for TRAVIS’ ankle bracelet for Sequence No. 40. The red dot depicts the

location of the flock LPR camera that captured an image of the dark-colored Sonata.
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      36)     Soon thereafter, at approximately 11:57:35 a.m., TRAVIS’ ankle monitor was

located traveling on East 152nd Street with a latitude/longitude of 41.552118, -81.574705.

(Sequence No. 47). The distance between this location and LPR 3 is .6 miles. The graphic

below illustrates the interplay between EMU sequence number and the dark-colored Sonata

as it appears on a Flock camera. The green dot below depicts the location for TRAVIS’

ankle monitor for Sequence No. 47. The red dot depicts the location of the flock LPR

camera that captured an image of the dark-colored Sonata.
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       37)     On October 16, 2024, at approximately 11:57:35 a.m., TRAVIS’ ankle

monitor was located traveling on East 152nd Steet, with a latitude/longitude of 41.552118, -

81.574705 (Sequence No. 41). At approximately 11:58:35 a.m., TRAVIS’ ankle monitor was

located traveling on St. Clair Avenue with a latitude/longitude of 41.551632, -81.581610

(Sequence No. 42). At approximately 11:59:35 a.m., TRAVIS’ ankle monitor was located

traveling on St. Clair Avenue with a latitude/longitude of 41.544602, -81.591872 (Sequence

No. 43). The three green dots below depict the locations of TRAVIS’ ankle monitor.
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       38)     On October 16, 2024, at approximately 11:59:35 a.m., TRAVIS’ ankle

monitor was located traveling on St. Clair, with a latitude/longitude of 41.544602, -

81.591872 (Sequence No. 43). At approximately 12:00:33 p.m., the dark-colored Sonata was

captured on Flock LPR (LPR 4) at the intersection of St. Clair and Eddy Road, with a

latitude/longitude of 41.541434, -81.601180. The distance between these two locations is

approximately .6 miles. The graphic below illustrates the interplay between EMU sequence

number and the dark-colored Sonata as it appeared on a Flock camera. The green dot below

depicts the location for TRAVIS’ ankle monitor for Sequence No. 43. The red dot depicts the
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location of the flock LPR camera that captured an image of the dark-colored Sonata.




       39)    Soon thereafter, at approximately 12:00:35 p.m., TRAVIS' ankle monitor was

located traveling on St. Clair with a latitude/longitude of 41.541418, -81.601217 (Sequence

No. 44). The distance between this location and LPR 4 is approximately 10 feet. The graphic

below illustrates the interplay between EMU sequence number and the dark-colored Sonata

as it appeared on the Flock camera at 12:00:33 p.m. The green dot below depicts the

location for TRAVIS' ankle monitor. The red dot depicts the location of the flock LPR

camera that captured an image of the dark-colored Sonata at this time.
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       40)     On October 16, 2024, at approximately 12:00:35 p.m.., TRAVIS’ ankle

monitor was located traveling on St. Clair, with a latitude/longitude of 41.541418, -

81.601217 (Sequence No. 44). At approximately 12:01:34 p.m., the dark-colored Sonata was

captured on Flock LPR (LPR 5) at the intersection of St. Clair and East 105th Steet, with a

latitude/longitude of 41.538569, -81.615644. The distance between these two locations is

approximately .8 miles. The green dot below depicts the location for TRAVIS’ ankle monitor

for Sequence No. 44. The red dot depicts the location of the flock LPR camera that captured
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an image of the dark-colored Sonata.




       41)     Soon thereafter, at approximately 12:01:35 p.m., TRAVIS’ ankle monitor was

located traveling on East 105th Steet with a latitude/longitude of 41.538660, -81.615592

(Sequence No. 45). The distance between this location and LPR 6 is 33 feet. The green dot

below depicts the location for TRAVIS’ ankle bracelet. The red dot depicts the location of
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the flock LPR camera.




       42)       On October 16, 2024, at approximately 12:01:35 p.m., TRAVIS’ ankle

monitor was located traveling on East 105th Steet, with a latitude/longitude of 41.538660, -

81.615592. (Sequence No. 45). At approximately 12:02:35 p.m., TRAVIS’ ankle monitor

was located traveling on East 105th Street with a latitude/longitude of 41.526802, -

81.615538. (Sequence No. 46). The two green dots below depict the location of TRAVIS’

ankle monitor.
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       43)     On October 16, 2024, at approximately 12:02:35 p.m., TRAVIS’ ankle

monitor was located traveling on East 105th Steet, with a latitude/longitude of 41.526802, -

81.615538. (Sequence No. 46). At approximately 12:03:06 p.m., the dark-colored Sonata

was captured on Flock LPR (LPR 6) at the intersection East 105th Steet and Superior, with a

latitude/longitude of 41.521560, -81.615570. The distance between these two locations is

approximately .4 miles. The graphic below illustrates the interplay between EMU sequence
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number of TRAVIS’ ankle monitor and the dark-colored Sonata as it appears on a Flock

camera. The green dot below depicts the location for TRAVIS’ ankle bracelet. The red dot

depicts the location of the flock LPR camera.




       44)     As previously indicated in paragraph 30, herein, TRAVIS’ ankle monitor

ultimately stopped at 33x6 East 142nd Street, Cleveland, Ohio. TRAVIS’ ankle monitor

arrived at this location at approximately 12:29 p.m., and stayed at this location until

approximately 4:00 p.m., when it departed. A GPS map provided by EMU, shows an address
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of 33x0 East 142nd, Street, Cleveland. This residence (33x0) is directly adjacent to 33x6 East

142nd, Street, Cleveland.

        45)    The EMU report provides that on October 16, 2024, at approximately 12:29

p.m., the electronic monitor was located at 33x6 East 142nd, Street, Cleveland, Ohio, with a

latitude/longitude of 41.468258, -81.583765 (Sequence No. 63).




        46)    On October 24, 2024, affiant conducted an open-source search utilizing

TRAVIS’ social security number. Public records indicate that TRAVIS is associated with

address is 33x6 East 142nd Street, Cleveland Ohio for the period between June 2024- August

2024.

        47)    The following two graphics depict both the route of TRAVIS’ ankle monitor

and the route that the Flock LPR cameras captured the dark-colored Sonata traveling. The

first route depicted in blue is the route of TRAVIS’ ankle monitor. The second route depicted

in red is the path of travel of the dark-colored Sonata as captured on the Flock LPR.
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       48)     On October 24, 2024, law enforcement officers from EMU and the Cuyahoga

County Sheriff’s warrant unit executed an arrest warrant for TRAVIS at his apartment,

located at 4x5 Richmond Park East, Apartment 3x2, Building C, Richmond Heights, Ohio.

TRAVIS left the state without permission which is a violation of the terms of his probation.

The court was notified of this violation and a warrant was issued.

       49)     After arriving at the residence, EMU knocked, announced, and loudly order

any residents inside to come to the door with nothing in their hands. A male voice inside said

"hang on a second." TRAVIS was taken into custody without incident, and two other males

inside the home were detained.

       50)     During the course of the arrest, law enforcement officers conducted a

protective sweep of the apartment. Upon performing a protective sweep of the residence, and

attempting to get TRAVIS’ clothes as well as his charger, an extended Glock magazine was

observed in one of the two bedrooms. Additionally, there were multiple bags of marijuana,

paraphernalia, and scales all throughout the apartment in multiple rooms. A small baggie

with white pills inside was also located on the coffee table in the living room.

       51)     The county prosecutor was contacted in an effort to obtain a search warrant

for the apartment. A warrant was secured by a county judge and executed at the residence.

Three handguns were observed inside the safe in one of the bedrooms, one of which was

reported stolen out of South Euclid. The stolen handgun was a 10mm Glock handgun.

Located in TRAVIS’ bedroom was a baggie with 10mm ammunition. There was also a

notebook in the bedroom with TRAVIS’ name on it. Inside the notebook was a yellow legal

pad with a title of “ways to make money.” Listed beneath that is “rob people/maybe, contract

killer/considering.”
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       52.   The two-toned handgun, with an extended magazine recovered from the safe

located in TRAVIS’ apartment, is similar to the handgun used during the robbery of the

service technician at Chase Bank ATM that occurred on October 16, 2024.




       (as located at TRAVIS’ apartment during search)
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  (as located at TRAVIS’ apartment after it was rendered safe and secure)




  (still photo from video footage of Chase Bank ATM robbery 10/16/24)
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  (still photo from video footage of Chase Bank ATM robbery 10/16/24)




  (still photo from video footage of Chase Bank ATM robbery 10/16/24)
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        53)   The below series of images were observed on TRAVIS’ Instagram account,

joeychillin._. The images were forwarded to investigators on October 22, 2024. The time

stamp on the screen capture indicates they were posted “53 minutes ago.” The first image

in the series shows two individuals, both holding a large amount of money. TRAVIS is the

individual on the left.
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       54)    In the second image, there are three individuals, all posing and holding a large

amount of money. TRAVIS is the individual furthest to the left.
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       55)   In the third image, there are three individuals, all posing and holding a large

amount of money. TRAVIS is the individual observed furthest to the left.
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       56)   The final image in the series of Instagram photos posted on TRAVIS’ account

is an image of TRAVIS standing alone posing and holding a large amount of money.
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                              THE SAME DARK-COLORED SONATA

       57)     As indicated in footnote 1, herein, the dark-colored Sonata that the robbers

emerged from, captured on bank surveillance video and video from an adjacent business, did

not have a rear license plate. An inspection of the Flock images included above of the dark-

colored Sonata, reflect the same lack of a rear license plate. Aside from the close temporal

proximity of the dark-colored Sonata as it appears on Flock LPR cameras to the time of the

robbery, and a missing rear license plate, there are other similarities between the images of

the dark-colored Sonata at the bank and the dark-colored Sonata on the road. These

similarities are evident in the wheels of the car.

       58)     The front driver’s side hubcap pattern of the dark-colored Sonata at the bank

appears to be a different pattern than the hubcap on the driver’s rear side. (first image

below). The front driver’s side hubcap pattern of the dark-colored Sonata captured from the

City of Cleveland Real Time Crime camera (RTCC) (second image below) bears the same

pattern difference. This second RTCC image is in the same path of travel as set forth above,

on October 16, 2024, at 12:02 p.m.
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        (East 105th Street and Grantwood Avenue)



       59)     Additionally, there are similarities between the dark-colored Sonata wheels on

the passenger side of the vehicle both at the bank and on the road. Specifically, the front

hubcap appears dirty (as if covered in brake dust), while the rear passenger hubcap appears

much cleaner. The images below depict the difference.
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  (Sonata in the bank parking lot)




  (Sonata on RTCC at 12:03:32 along path of travel at East 105th Street and Ashbury)
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        (Sonata from Flock LPR camera at 11:56:43 along path of travel)



       60)     Based on a comparison of these images, the temporal proximity to the time of

the robbery, and the unique characteristics of the dark-colored Sonata in the bank parking lot

and the dark-colored Sonata on City of Cleveland roadways, affiant believes that the dark-

colored Sonata that appears in the bank parking lot is the same dark-colored Sonata recorded

on the roadway as described herein, on October 16, 2024.

       61)     Based on the foregoing, there is probable cause to believe that on October 16,

2024, JOEL ALONTE TRAVIS, along with others, did by force, violence and intimidation take

monies from the person or presence of Chase Bank employees and/or contractors, located at xx,
       Case: 1:24-mj-03231-RJS Doc #: 1-1 Filed: 11/26/24 49 of 49. PageID #: 50




Cleveland, Ohio, 18 U.S.C. 2113(a),(d) & 2; and that JOEL ALONTE TRAVIS did brandish a

firearm during the commission of this armed robbery, in violation of 18 U.S.C. 924(c)(1)(A)(ii)

& 2.



                                                           ______________________
                                                           Shawn Hare
                                                           Special Agent
                                                           FBI



Sworn to via telephone after submission by reliable
electronic means. Fed. R. Crim. P. 4.1 and 41(d)(3) on
the 26th day of November, 2024.


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